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 8                               UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    IN THE MATTER OF THE                            No. 2:18-mj-152-EFB
      EXTRADITION OF OMAR
12    ABDULSATTAR AMEEN TO THE
      REPUBLIC OF IRAQ,
13                                                    ORDER
14

15

16          A Status Conference was held in chambers on December 20, 2018, at 12:10 p.m., to

17   address procedural issues concerning: 1) the government’s request for an order approving certain

18   disclosures to counsel for Ameen; 2) the government’s request for sealing of documents; and 3)

19   Ameen’s Request For Issuance of a Letter Rogatory (ECF No. 29). Assistant U.S. Attorneys

20   Audrey Hemesath and Heiko Coppola appeared on behalf of the government. Chief Assistant

21   Federal Defender Benjamin Galloway and Assistant Federal Defender Rachelle Barbour appeared

22   on behalf of Ameen.

23          At the conference counsel addressed the respective requests and agreed that the

24   government’s request to disclose information to Ameen’s counsel could be approved.

25   Accordingly, Ameen’s counsel withdrew the opposition to that request which was filed on

26   December 14, 2018.1 However, counsel disagreed as to the redaction of some information and

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            That document has not yet been docketed, however a notice of the opposition was filed.
28   ECF No. 28. Because of the government’s outstanding request for a sealing order, it was not filed
                                                   1
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 1   resolution of that issue was deferred pending further consultation among the government’s
 2   counsel. The court instructed the government to submit a written response to Ameen’s request of
 3   issuance of a Letter Rogatory. The government filed its response the following day and took no
 4   position on whether a letter rogatory should issue but indicated that it would oppose any delay in
 5   the extradition proceeding. ECF No. 32. Thereafter, the court granted Ameen’s request for
 6   issuance of the letter rogatory. ECF No. 34.
 7           On January 22, 2019, the government submitted “under seal” a status report informing the
 8   court that after further deliberation among government counsel there remains a dispute with
 9   Ameen’s counsel as to whether certain information should remain redacted from the disclosure
10   that was made to Ameen’s counsel. That status report also addressed the government’s request
11   for sealing of documents. Ameen’s counsel submitted an opposition to that request on January
12   25, 2019.
13           A further status conference was held in chambers on January 28, 2019, at 10:30 a.m., to
14   discuss a procedure for addressing those submissions. The same counsel appeared as on
15   December 20, 2018. Ameen’s counsel indicated an intent to file a supplemental brief, which shall
16   be filed by January 30, 2019. The government’s reply, if any, shall be filed by February 1, 2019,
17   and hearing on the matter is set for February 4, 2019, at 2:00 p.m. in Courtroom No. 8.
18           Neither the government’s January 22 status report and request, nor Ameen’s January 25
19   opposition have yet been docketed in light of the government’s outstanding request for sealing.
20   Accordingly, in addition to the redaction question, counsel shall address whether those documents
21   should be filed with or without redaction and whether the unredacted versions must be sealed.
22   /////
23   /////
24   /////
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     electronically by Ameen’s counsel. The court finds no basis for the sealing of that opposition
28   brief and it shall be filed without sealing.
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 1          Further, counsel for defendant is directed to forward a copy of their December 14, 2018
 2   opposition brief to Jeremy Donati, Operations Supervisor, at jdonati@caed.uscourts.gov. The
 3   Clerk is directed to file that opposition nunc pro tunc to December 14, 2018.
 4   DATED: January 28, 2019.
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